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                                                                                                 - OF HH
                            UNITED STATES DISTRICT COURT
                                                                                             i il.Lu
                             DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA                          )                                     AUG-I P 1=20

               V.                                )                   No. l:16-cr-193-^''^'^
                                                 )
WILLIAM SUMMERS                                  )


                                        PLEA AGREEMENT

       Pursuant to Rule 1 l(c)( 1)(C)ofthe Federal Rules ofCriminal Procedure, the United States

of America by its attorney, Scott W. Munay,United States Attorney for the District of New

Hampshire, and the defendant. William Summers, and the defendant's attorney, Louis Sirkin,

lisquire. enter into the following Plea Agreement:

       1. The Pica and The Offense.


       The defendant agrees to plead guilty an Information charging him with criminal contempt

ill violation of 18 U.S.C. § 401(1).'
       In exchange for the defendant's guilty plea, the United States agrees to the sentencing

stipulations identified in Section 6 ofthis agreement.

       2. The Statute and Elements ofthe Offense.

       Title 18. United States Code, Section 401{1) provides, in pertinent part, that a court ofthe

United States shall have the power to punish by fine or imprisonment or both ... misbehavior of

any person in its presence or so near thereto as to obstruct the administration ofjustice.




       The defendant understands that he has no right to be indicted by the grand jury on a charge
ofcriminal contempt. Green v. United States. 356 U.S. 165. 184-85 (1958).

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        I he defendant understands that the ofiense has the following elements, each of which the

United States would be required to prove beyond a reasonable doubt at trial:

       First, the defendant engaged in misbehavior:

       Second, the misbehavior occurred in or near the presence tif the court:

       Third, the defendant engaged in the misbehavior wiilt criminal intent; and

       Fourth,the misbehavior resulted in an obstruction of the administration ofjustice.

       Vaughn V. Citv of Flint. 752 R2d 1160, 1167(7th Cir. 1985).

       3. Offense Conduct.

       ITie defendant stipulates and agrees that if this case proceeded to trial, the government

would introduce evidence of the following facts, which would prove the elements ofthe offense

beyond a reasonable doubt:

       On March 22.2012. the defendant was suspended from the practice of law in Ohio.

Nevertheless, the defendant continued to solicit clients while under suspension, including l-i.R.,

who was a defendant in a criminal prosecution in this Court. The defendant made this solicitation

ofE.R. in July 2012. while he was under suspension from the Ohio Bar. The defendant told E.R.

and his family that he would represent E.R. in the prosecution in this Court for a flat fee of

$25,000. plus travel and local counsel expenses.

       The defendant engaged another lawyer trom Ohio (the Ohio lawyer) who would appear in

court while the defendant remained under suspension. The defendant sent letters and emails to

E.R. and local counsel stating falsely that he was "of-counscl" in the law firm where the Ohio

lawyer was a named partner.

       Despite soliciting E.R. and hi.s family by suggesting that he would per:«vially provide E.R.
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with a defense in Court as his lead counsel, the defendant did not do so. After E.R.'s sentencing in

this Court. E.R. learned that the defendant had been under suspension during the defendant's

representation of him. E.R,filed a 28 U.S.C. § 2255 motion in this Court arguing that he did not

receive the effective assistance of counsel because tlie defendant was under suspension during his

case and thcrctbrc. contrar>' lo the defendant's promises, could not represent him in Court.

       This Court held an evidentiary" hearing on E.R.'s § 2255 motion, at which time the

defendant testified. The defendant adtnitted at this hearing that he rcprc.sented H.R. in the District

of New Hampshire during the period when he vva.s suspended from the practice of law, although

avoided appearing in (.'ourt. The defendant understood that it vs-as impermissible for him lo

represent E.R. in the District of New Hampshire while he was under suspension from the practice

of law in Ohio and therefore avoided appearing in Court lo conceal his misconduct,

       4. Penalties. Special .Assessment and Restitution.

       The defendant understands that the penalties for the offense are:

       A.      A prison term for any number of years(United State.s v. Wriuht 812 F.3d 27..12
               Cist Cir. 2016))-;

       li.     A fine of any amount:

       C.      .A term ofsupervised release of not more than 5 years. 18 U.S.C. § 3583.
               The defendant understands that the defendant's failure to comply with any
               of tlte conditions ofsupervised release may result in revocation of
               supervised release, requiring the defendant lo serve in prison all or part of
               the term ofsupervised release, with no credit for time already spent on
               supervised release; and

       I).     A mandatory special assessment ofS1 GO for each count of conviction, at or before

  The parties agree that, within judicial districts of the Eleventh Circuit, including the Middle
District of Florida where the defendant resides, criminal contempt is an unclassified offense, i.e., it
i.s neither a felony nor a nii.sdemcanor. See United States v. Colin. 586 F.3d 844. 845(11th Cir.
2009)(per curiam).
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                the time of sentencing (18 IJ.S.C. ij 3013(a)(2)(A));

       In addition to the other penalties provided by law.the Court may order the defendant to pay

restitution to the victim(s) ofthe offense(18 U.S.C. § 3663 or § 3663A).

       5. Sentencing and Application ofthe Sentencing Guidelines.

       The defendant understands that the Sentencing Reform Act of 1984 applies in this case and

that the Court is required to consider the United States Sentencing Guidelines as advisory

guidelines. The defendant further understands that he has no right to withdraw from lliis Plea

Agreement if the applicable advisory guideline range or hi.s .sentence is other than he anticipated.

       The defendant also understands that the United States and the United States Probation

Office shall;

       A.       Advise the Court of any additional, relevant facts thai are presently known
                or may subsequently come to their attention:

       B.       Respond to questions from the Court;

       C.       C^orrect any inaccuracies in the pre-sentence report;

       D.       Respond to any statements made by him or his counsel to a probation
                officer or to the Court.

       The defendant understands thai the United States and the Probation Office may address the

Court with respect to an appropriate sentence to be imposed in this case.

       The defendant acknowledges that any estimate of the probable sentence or the probable

scnlcncing range under the advisory Sentencing Guidelines thai he may have received from any

source is only a prediction and not u promise as to the actual sentencing range under the advisor}*

Sentencing Guidelines that the Court will adopt.

       6. Sentencing Stipulations and Agreements.
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        Pursuant to Fed. R. Crim. 11(c)(1)(C), the United States and the defendant stipulate and

agree to the following:

               (a)     A sentence of not more than twelve(12) months and one (1) day of

                       imprisonment is an appropriate disposition of this case;

               (b)     The total offense level under the Sentencing Guidelines after acceptance of

                       responsibility is 11; and

              (c)      As provided under Title 18. United States Code. Sections 3663A(a)(3) and

                      (c)(2). the United Statc.s and the defendant agree that the defendant's

                       commission of wire and mail fraud gave rise to the offense for which the

                       defendant is pleading guilty pursuant to this Plea Agreement and further

                       agree thai the Court should order the defendant to pay restitution in the

                       amount of$26,600.

       The parties intend the above stipulations to be "binding" under Fed. R. Crim, P.

1 l(c)(l )(C). By using the word binding the parties mean that if the Court will not accept the plea

agreement under Fed. R. Crim. P. 11(c)(3)(A). the plea agreement is null and void and the

defendant will be allowed the opportunity to withdraw his guilty plea.

       The parties are free to make recommendations with respect to the terms of imprisonment,

fines, conditions of probation or supervised release, and any other penalties. requiremcnl.s. and

conditions ofsentencing as each party may deem lawful and appropriate, unless such

recommendations are inconsistent with the terms of this Plea iXgrcement.

       7. Acceptance of Responsibility.

       The United States agrees that it will nol oppose an appropriate reduction in the defendant's


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adjusted offense level, under the advisory Sentencing Guidelines, based upon the defendant's

apparent prompt recognition and affirmative acceptance ofpersonal responsibility for the offense.

The United States, however, may oppose any adjustment for acceptance of responsibility ifthe

defendant;


        A.     Fails to admit a complete factual basis for the plea at the time he is
               sentenced or at any other time;

        B.     Challenges the United States" offer of proof at any time after the plea is
               entered:


       C.      Denies involvement in the offense;

       0.      Gives conflicting statements about that involvement or is untruihiul with
               tlie Court, the I'nited Slates or the Probation Office:

       E.      Fails to give complete and accurate infoi-mation about his financial status to
               the Probation Office:

       F.      Obstructs or attempts to obstruct justice, prior to sentencing;

       G.      Mas engaged in conduct prior to signing this Plea Agreement which
               reasonably could be viewed as obstruction or an attempt to obstruct justice,
               and has failed to fully disclose such conduct to the United States prior to
               signing this Plea Agreement;

       H.      Fails to appear in court as required:

       1.      After signing this Plea Agreement,engages in additional criminal conduct;
              or



       J.     .\ttcmpts to withdraw hi.s guilty plea.

       The defendant understands and agrees that he may not withdraw his guilty plea if, for any

ofthe reasons li.stcd above,the United States docs not recommend that he receive a reduction in his

sentence for acceptance of responsibility.

       The defendant also understands and agrees that the Court is not required to reduce the


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ofTense level if it finds that he has not accepted responsibility.

         Ifthe defendant's offense level is sixteen or greater, and he has assisted the United Stales in

the investigation or prosecution of his own misconduct by timely notifying the United States ofhis

intention to enter a plea of guilt>', thereby pcnnitting the United States to avoid preparing for trial

and permitting the United States and the Court to allocate their re.sourccs cfficicnily. the United

States will move,at or before sentencing, to decrease lite defendant's base offense level by an

additional one level pursuant to U.S.S.G. § 3E1.1(b).

         8. Waiver of Trial Rights and Consequences of Plea.

        The defendant understands that he has the right to be represented by an attorney at every

stage ofthe proceeding and. iCncccssarv. one will be appointed to represent him. 1 he defendant

also understands that he has the right:

        A.      To plead not guilty or to maintain that plea if it has already been made;

        B.      To be tried by a jury and, at that trial, to the assistance of counsel;

        C.      To confront and cross-examine witnesses;

        D.      Not to be compelled to provide testimony tliat may incriminate him: and

         E-     To compuJsoiy process for the attendance of witnesses to testify in his
                defense.


        Tlie defendant understands and agree.s that by pleading guilty he waive.s and gives up the

foregoing rights and that upon the Courtis acceptance ofthe his guilty plea, he will not be entitled

to a trial.


        The defendant understands that if he pleads guilty, the Court may ask him questions about

the olfense, and if he answers those questions falsely under oath,on the record,and in the presence

ofcounsel, his answers will be used against him in a prosecution for perjury or making false

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statements.


            Acknowledgment of Guilt: Voluntariness of Plea.


       The defendant understands and acknowledges that he:

       A.      Is entering into this Plea Agreement and is pleading guilty freely and voluntarily because
               he is guilty:

       B.      Is entering into this Plea Agreement without reliance upon any promise or benefit of any
               kind except as set forth in this Plea Agreement or revealed to the Court;

       C.      Is entering into this Plea Agreement without threats, force, intimidation, or coercion:

       D.      Understands the nature ofthe offense to which he is pleading guilty,
               including the penalties provided by law: and

       E.      Is completely satisfied with the representation and advice received from his
               undersigned attorney

       10. Scone of Agreement.

       The defendant acknowledges and understands that ihis Plea i\greement binds only the

undersigned parties and cannot bind any other non-party federal, state or local authority. The

defendant also acknowledges that no representations have been made to him about any civil or

administrative consequences that may result from his guilty plea. The defendant understands such

matters are solely within the discretion olThc specific non-parly government agency involved. The

defendant further acknowledges that this Plea Agreement has been reached without regard to any

civil tax matters that may be pending or which may arise Involving the defendant.



       11. Collateral Consequences.

       The defendant understands that as a consequence of his guilty plea he will be adjudicated

guilty and may thereby be depri\ cd of certain federal benefits and certain rights, such as the right


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to vote, to hold public office, to serve on ajury,or to possess furearms. depending on tiic law in the

jurisdiction in which he re.sidc.s.

        The defendant understands that if he is not a citizen ofthe United States, his guilty plea to

the charged offense will likely result in him being subiect to immigration proceedings and

removed from the United Slates by making him deportable. excludable, or inadmissible, or ending

his naturalization. The defendant understands that the immigration consequences ofthis plea will

be imposed in a separate proceeding before the immigration authorities. The defendant wants and

agrees to plead guilty to the charged offense regardless of any immigration consequences ofthis

plea, even if this plea will cause his removal from the United States. The defendant understands

that he is bound by his guilty plea regardless of any immigration consequences of the plea.

Accordingly, the defendant vvaive.s any and all challenges to his guilty plea and to his sentence

based on any Immigration consequences, and agrees not to seek to withdraw his guilty plea, or to

file a direct appeal or any kind of collateral attack challenging his guilty plea, conviction,or

sentence, based on any immigration consequences of his guilty plea.

        12. Satisfaction of Federal Criminal Liability: Breach.

       The defendant's guilty plea, if accepted by the Court, will satisfy his federal criminal

liability in the District of New Hampshire arising from his participation in the conduct that forms

the basis of the indictment [or information
                                         |  in this case,'fhe defendant understands that if, before

sentencing, he violates any term or condition ofthis Plea Agreement, engages in any criminal

activity, or fails to appear for sentencing, the United States may consider such conduct u> be a

breach oftlic Plea Agreement and may withdraw therefrom.

        I    Waivers.



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        A. Appeal.

        The defendant undcrsiaitds that he has the right to challenge his guilty plea and/or sentence

on direct appeal. By entering into this Plea Agreement the defendant knowingly and voluntarily

waives his right to challenge on direct appeal:

        1.     His guiltN' plea and any other aspect of his conviction, including, but not
               limited to, adverse rulings on pretrial suppression molion(.s). other adverse
               dispositions of pretrial motions or issues, or claims challenging the
               constitutionality of the statute of conviction; and

               The sentence imposed by the Court if it is consistent with or lower than the
               stipulated sentence or the stipulated sentencing range .specified in Section 6
               ofthis agreement.

       The defendant's waiver of his rights does not operate to waive an appeal based upon new

legal principles enunciated in Supreme Court or First Circuit case law after the date of this Plea

Agreement that have retroactive effect; or on the ground ofineffective assistance of counsel.

       B. Collateral Review


       The defendant understands that he may ha^ e the right to challenge his guilty plea and/or

sentence on collateral review, e.g., a motion pursuant to 28 I'.S.C.    2241 or 2255. By entering

into tills Pica Agreement,the defendant knowingly and voluntarily waives his right to collaterally

challenge:

       1.      His guilty plea, except as provided below,and any other aspect of his
               conviction, including, but not limited to, adverse rulings on pretrial
               suppression motion(.s). other adverse dispositions of pretrial motions or
               issues, or claims challenging the consiiiutionality ofthe statute of
               conviction; and

       2.      The sentence imposed by the Court if it is consistent with [or lower tlian tlie
               stipulated sentence or the stipulated .sentencing range specified in Section 6
               of this agreement! Ithc stipulations specified in Section 6 of this
               agreement!.


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        The defendant's waiver of his right to collateral review does not operate to waive a
collateral challenge to his guilty plea on the ground that it was involuntary or unknowing,or on the

ground ofineffective assistance ofcounsel. The defendant's waiver of his right to collateral review

also does not operate to waive a collateral challenge based on new legal principles enunciated by in

Supreme Court or First Circuit case law decided after the date ofthis Plea Agreement that have

retroactive effect.


       C. Freedom of Information and Privacy Acts

       The defendant hereby waives all rights, whether asserted directly or through a

rcprescnlativc, to request or receive from any department or agency ofthe United States any

records pertaining to the investigation or prosecution of the casefs) imderlying this Plea

Agreement,including without limitation any records that may be sought under the Freedom of

Information Act,5 U.S.C. §552. or the Pri''*acy Act of 1974. 5 U.S.C. !;522a.

       D. Appeal by the Government

       Nothing in this Pica Agreement shall operate to waive the rights or obligations ofthe

Government pursuant 18 U.S.C. §.i742(b)to pursue an appeal as authorized by law.

       14. No Other Promises.

       The defendant acknowledges that no other promises, agreements, or conditions have been

entered into other than those set forth in this Plea Agreement or revealed to the Court, <ind none

will be entered into unless set forth in writing, sinned by all parties, and submitted to the Court.

       15. Final Binding Agreement.

       None ofthe terms of this Plea Agreement shall be binding on the United Stales until thi.s

Plea Agreement is signed by the defendant and the defendant's attorney and until it is .signed by the


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United States Attorney for the District ofNew Hampshire, or an Assistant United States Attorney.
        16.   Agreement Provisions Not Severable.

        The United Stales and the defendant understand and agree that if any provision ofiliis Pica

Agreement is deemed invalid or unenforceable, then the entire Plea Agreement is null and void

and no part ofit may be enforced.




        1     5"    li
Date:
                                                                       rame

                                                                   ti United States Attorney
                                                            MA Bar Association 643288
                                                            53 Pleasant St., 4th PUior
                                                            Concord, NH 03301
                                                            Seth-aframciVdusdoj.gov

        The defendant. William Summer,certifies that                                  lea .\greement
and that he Jfiilly understands and accepts its temis.

Date;                 iz.
                                                                           mmers. Defendant

        I have read and explained this 12-page Plea Agreement to the defendant, and he has
advised me that he understands and accepts its terms.


Dale:
                                                         Louis Sirkin, Lsquire
                                                         .\ttomey for William Summers




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